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FEDERAL BUREAU OF INVESTIGATION =
Date of entry 06/19/2020

JOSHUA KELHI, date of birth (D0? ii i . was interviewed

telephonically. Also present for the interview were Assistant United States
Attorneys Christina McCall and Rosanne Rust. KELHI was aware of the identity
of the interviewing Agent and the nature of the interview, and voluntarily

provided the following information:

KELHI was currently a diesel technician. Prior to that; KELHI had taken
welding classes at Summit College. Prior to that, he was deployed to Qatar
with the California National Guard. He left for New Mexico for training in
September 2017. He was on the ground in Qatar on October 28, 2017. His
whole battalion deployed, about 1,500 people.

The battalion was split into four categories for deployment, labeled as
"chocks." His was the third chock to leave. They did not all go to the same

place. Some went to Qatar, some to Bahrain, and others to Jordan.

KELHI's mission in Qatar was Sergeant of the Guard for the main gate
allowing access into the military installation. He was responsible for that
gate and all soldiers working that gate. The soldiers processed vehicles

coming through the gate and conducted security checks.

When KELHI arrived in-country the “tempo was very high.” The weather was
very hot, and there was a lot going on with the unit getting established and
up and running. After about 3 months everything was up and running

smoothly.

Prior to deploying to Qatar, KELHI had served active duty in the Army for
4.5 years. He was an Artilleryman, but sometimes when he was deployed it was
not in artillery, but a more "typical" job, such as security for the Guard

installation.

Investigation on 03/15/2020 at Orange, California, United States (Phone)

File# 305G-SC-3071198 Date drafted 03/15/2020

by Scott A. H. Schofield

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KELHI's first tour was in Germany when Russia invaded Ukraine. His

second tour was in Korea.

JAZTZ CEA was assigned to KELHI’s group about 4 months prior to KELHI
returning home. CEA was a “floater.” The Army brought more manpower than
turned out was necessary, so CEA transferred to KELHI’s section later. He

was part of the guards working security at the main gate.

CEA was a quiet individual. He took a while to pick things up, but once
he did, he practiced them and became very proficient. He performed his
duties well and understood the rules of engagement. He understood escalation
of force. Whenever uncooperative individuals approached the gate, he handled
the situation well without “shutting down.” CEA knew how to bring issues to
the chain of command and he briefed KELHI about the circumstances well. He

was very informative when he would brief KELHI.

The facility was a large supply depot, housing mostly medical supplies.
Because so many contractors and others were coming and going, the job was
very stressful. Anyone coming in could be dangerous. The guard group

stopped various types of contraband from entering the facility.

What CEA struggled with the most was connecting with the other soldiers.
He was very shy, timid, and quiet. He seemed to have had a very good
relationship with the soldiers in his prior section. When he moved to
KELHI’s section, he had a harder time. KELHI’s method of supervision wag to

kind of force people to come to social gatherings and be part of the group.

CEA was one of the younger members of the deployment and sometimes KELHI
felt that CEA was intimidated by KELHI. When KELHI would instruct him in
something, CEA would sometimes just acknowledge but not look KELHI in the
eye. Sometimes KELHI had to be “delicate” with him.

On a few occasions, CEA mentioned hearing voices. He would say it with a

smile on his face and in a humorous manner so KELHI never took it seriously.

There were also complaints of CEA staring at female soldiers. KELHI never

observed this himself. The lower soldiers tried to take care of it without

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bringing it to KELHI. A couple of times, KELHI had to address it with him.
CEA felt guilty and said afterward it would never happen again. He was

“verbally counseled.”

Other than the time KELHI spoke with CEA about his attraction to young
girls and suicide, KELHI never heard about or spoke to CEA about any sort of
mental health issues. Neither CEA, nor anyone else, ever brought something
like this to his attention. KELHI only spoke about CEA’s attraction to

child pornography the one time mentioned in a prior interview.

CEA admitted to KELHI he had watched child pornography before. He also
said he had fantasized about it. KELHI "laid into him" about it. KELHI asked
CEA if he was guicidal and CEA replied that he was not going to lie to
KELHIT, he had thought about it.

KELHI did not recall if CEA was with him on the return trip from Qatar.
The soldiers were divided into chocks again, but most of his unit was

tegether.

KELHI advised that, had it been known prior to deployment that CEA

actually heard voices, CEA would not have been deployed.

KELHI and his soldiers returned to the United States sometime in July, to
his best recollection. Upon return, there were “demobilization” classes to
assist with getting back into life as a civilian. There were financial
classes and behavioral health classes. These classes were mandatory for
every soldier to attend and each one had a sign in sheet to show who had
attended. These classes were required for a certificate of discharge. The
classes were about 1-2 hours in length and lasted about two weeks. The
classes were in Téxas. After the classes, the soldiers all flew home. For
KELHI, it was a flight to Long Beach, California with about 150 others. He

met his family there and went home.

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